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UN|TED STATES DlSTRlCT COURT F“£D By¢d:__ D.C.
WESTERN DlSTRlCT OF TENNESSEE

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"" 2:05cR2024a-o1-o up z;;§“~ z'i-.-_ nitle

STACY LA¥NE BEAVERS
Robert W. Ritchiel Retained

Stephen Ross Johnson, Retained
Defense Attorneys

P.O. Box 1126

Knoxvi||e, TN 37901

Kemger B. Durandl Retained

Defense Attorney
29th F|oor One Commerce Square
Memphis, TN 38103

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on August 04, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section MG_F.M-Y Offense Number(s)
Conc|uded
42 U.S.C. § 1307(a) Making Fa|se Representation 05/08/2002 1

Regarding internal Revenue Code with
intent to Defraud

The defendant is sentenced as provided in the following pages of this judgment. The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
finesl restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 09/05/1964 August 04, 2005
Deft’s U.S. Marsha| No.: 10308-078

Defendant's Mailing Address: /
2424 East Windsor Drive
Denton, TX 76209

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Case No: 2:050R20248-01 Defendant Name: Stacy Layne BEAVERS Page 2 of 4

MJM

" /BERNlcE B. DONALD
uNlTED sTATEs DlSTRlCT JuDGE

August 3 0 , 2005

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Case No: 2:05CR2024B-01 Defendant Name: Stacy Layne BEAVERS Page 3 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of 12 months. The
defendant will pay the sum of Two-Hundred Thousand ($200,000.00) Doiiars (US) as a civil
forfeiture to the United States, payable to the U.S. Marshai's Seized Asset Deposit Fund.

Whi|e on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation ofticer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation ofncer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment;

6_ The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used.
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

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10. The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notihcations and to confirm the defendant's compliance with such
notihcation requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBATION

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall make full financial disclosure as directed by the Probation
thcer.

2. The defendant shall not participate in telemarketing businesses during term of
Probation.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$50.00

The Speciai Assessment shall be due immediateiy.

F|NE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
ease 2:05-CR-20248 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DlSTRlCT COURT

